






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00554-CV






Greg Daniels, Appellant



v.



E. W. Ross, Individually and d/b/a Cash Auto Sales, Appellee






FROM THE COUNTY COURT AT LAW NO. 2 OF TRAVIS COUNTY


NO. 252,902, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING 






	Greg Daniels filed a notice of appeal in cause 252,902.  The judgment from which
he attempts to appeal, however, is not the final judgment in the cause, signed January 18, 2001. 
Rather, he attempts to appeal a post-judgment order of contempt.

	Appellee has filed a motion to dismiss for lack of jurisdiction on the basis that
contempt orders are not appealable but can be attacked only through a writ of habeas corpus.  The
validity of a contempt order cannot be attacked by direct appeal.  Ex parte Williams, 690 S.W.2d
243, 243 n.1 (Tex. 1985); Metzger v. Sebek, 892 S.W.2d 20, 54 (Tex. App.--Houston [1st Dist.]
1994, no writ) (cannot appeal contempt order even along with appealable order; should dismiss
contempt); Mendez v. Attorney Gen. of Texas, 761 S.W.2d 519, 521 (Tex. App.--Corpus Christi
1988, no writ) (no jurisdiction to review contempt order by appeal); Smith v. Holder, 756 S.W.2d
9, 10-11 (Tex. App.--El Paso 1988, no writ) (same).  However, this contempt order imposed only
a fine.  Therefore, the requisite element of restraint required for a writ of habeas corpus is not
present.  In re Long, 984 S.W.2d 623, 625 (Tex. 1999).  A fine-only contempt order is properly
attacked by petition for writ of mandamus, as there would otherwise be no remedy.  Id;  Kidd v.
Lance, 794 S.W.2d 586, 587 n.1 (Tex. App.--Austin 1990, orig. proceeding).  Accordingly we
dismiss for want of jurisdiction Daniels's attempted appeal from the contempt order in cause
252,902. (1)  Tex. R. App. P. 42.3(a).



					                                                                                   

					Bea Ann Smith, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Dismissed for Want of Jurisdiction

Filed:   December 13, 2001

Do Not Publish
1.        Our dismissal is not a comment on the merits of any potential mandamus action.  We have also
dismissed an appeal in cause 252,902 filed by the Dimitry Wanda Declaration Trust.  Dimitry Wanda
Declaration Trust v. Ross, No. 03-01-00417-CV (Tex. App.--Austin Dec. 13, 2001, no. pet. h.) (not
designated for publication).


